        Case 21-18814-SLM          Doc 27    Filed 01/06/22 Entered 01/06/22 11:51:52             Desc Main
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   Marie-Ann Greenberg, MAG-1284
   Marie-Ann Greenberg, Standing Trustee
   30 TWO BRIDGES ROAD
   SUITE 330
   FAIRFIELD, NJ 07004-1550
   973-227-2840
   Chapter 13 Standing Trustee
                                                                 UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF NEW JERSEY
   IN RE:
   VICTOR HERNANDEZ                                              Case No.: 21-18814SLM

                                                                 HEARING DATE: 01/12/2022

                          TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN


    Marie-Ann Greenberg, the Chapter 13 Standing Trustee by way of objection to the Debtor's proposed
plan respectfully objects as follows:
        The plan does not appear to be feasible pursuant to 11 U.S.C. Section 1325(a)(6), as the debtor will
    be unable to make payments under the plan and to comply with the plan.
        Specifically,
        insufficient income to make plan payments and no341a conducted.
        A review of Schedules I+J show no surplus available to fund the debtor's plan.
        The Debtor has failed to make all pre-confirmation required payments to the Standing Trustee
     pursuant to 11 U.S.C. Section 1326.
          Specifically, none made.
     All documentation needed to conduct a 341a meeting has not been uploaded. Also, the secured
     creditor's objection has not and cannot be satisfied based on the budget as filed under oath. It does not
     appear that debtor owns the realty in question either.


   WHEREFORE, Marie-Ann Greenberg, the Chapter 13 Standing Trustee prays that confirmation of the Debtor's
Chapter 13 plan in its present form be denied and the case be dismissed.


Dated: January 06, 2022                                           By:   /S/Marie-Ann Greenberg
                                                                        Marie-Ann Greenberg, Esquire
                                                                        Chapter 13 Standing Trustee
